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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



In re:

FINANCIAL BUSINESS AND                                Chapter 7
CONSUMER SOLUTIONS, INC.
                                                      Case No. 24-13029
                         Debtor.




                         PROPOSED ORDER SCHEDULING HEARING

         AND NOW, upon the consideration of the Motion for Entry of an Order Authorizing the

Company to Redact Personally Identifiable Information for Consumers, Employee and Other

Individual Parties in Interest (the “Motion”) [D.I. 6] filed by Financial Business and Consumer

Solutions, Inc. (the “Debtor” or “Movant”); the Court having reviewed the Motion, the Court

finding that, (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2) and

1334, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b), and (c) the circumstances justify

an expedited hearing on the Motion;

         IT IS HEREBY ORDERED THAT:

               1.        The Court shall conduct an interim hearing on the Motion at 12:30 p.m.

 (ET) on September 18, 2024, in Courtroom #4 at the United States Bankruptcy Court for the

 Eastern District of Pennsylvania, Robert N.C. Nix, Sr. Federal Building & Post Office, 900

 Market Street, 2nd Floor, Philadelphia, Pennsylvania, 19017. Telephonic appearance at the

 hearing is permitted.




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                2.     Written objections or other responsive pleadings to the Motion (while not

 required) may be filed up to the time of the hearing and all objections will be considered at the

 hearing.

                3.     Movant shall serve this Order on the United States Trustee, the Chapter 7

 Trustee, parties requesting notice in this case, and the Creditor Matrix by regular mail within two

 (2) business days following entry of this Order.

                4.     Prior to the hearing, Movant shall file a Certification in compliance with

 Local Bankruptcy Rule 9014-4 setting forth compliance with the service requirements of

 Paragraph 3.



Date: _________                                      _____________________________
                                                     HONORABLE ASHLEY M. CHAN
                                                     CHIEF U.S. BANKRUPTCY JUDGE




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